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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                                  www.flsb.uscourts.gov

In re:                                                    Case No. 17-19455-PGH
                                                          (Jointly Administered)
CHARIOTS OF PALM BEACH, INC                               Case No. 17-19458-PGH
and H&S, INC.,
                                                          Chapter 11

             Debtors in Possession.
_____________________________________/

CHARIOTS OF PALM BEACH, INC                               Adv. No.:
and H&S, INC.,

             Plaintiff,

vs.

ANCHOR COMMERCIAL BANK,
FLAGLER BANK,
J&G CAPITAL GROUP, LLC,
LEGACY BANK OF FLORIDA,
LQD BUSINESS FINANCE, LLC,
NEXTGEAR CAPITAL, INC.
NORTH FLORIDA MANGO CREDIT,
ALAN AND SUSAN GILISON, Individually,
ALBERT GLEAVES AND
DEADRIA VAN METRE, JR., Individually,
BRUCE HALEY, Individually,
DANIEL JACK KEEGAN, Individually,
HOWARD WINCELVOSS, Individually,
JOYCE L. MORROW, Individually,
KIRSTEN WHITE, Individually,
MARK ADAM FOLEY, Individually,
MICHAEL ANTHONY JOSEPH, Individually,
RICHARD P. FACCHINE, Individually,
ROSS W.W. MELTZER, Individually,
STEPHEN D. HAYMES, Individually,
WILLIAM V. MAURO, Individually,
WOLF VON FALKENBERG, Individually,
ALEXANDER & WINIFRED ARANYOS, Individually
and ROGER ISPHORDING
Individually,
              Defendants.
_____________________________________/
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               COMPLAINT TO DETERMINE NATURE, EXTENT, VALIDITY AND
               PRIORITY OF ALLEGED SECURED CLAIMS AND OTHER RELIEF

        Debtors-In-Possession, Chariots of Palm Beach, Inc. (“Chariots”) and H&S, Inc. (“H&S”) (the “DIP”

or the “Plaintiffs”), files this adversary complaint (the “Complaint”) against Defendants, ANCHOR

COMMERCIAL BANK, FLAGLER BANK, J&G CAPITAL GROUP, LLC, LEGACY BANK OF

FLORIDA, LQD BUSINESS FINANCE, LLC, NEXTGEAR CAPITAL, INC., ALBERT AND SUSAN

GILISON, Individually, ALBERT GLEAVES VAN METRE, JR AND DEADRIA VAN METRE, JR.,

Individually, BRUCE HALEY, Individually, DANIEL JACK KEEGAN, Individually, HOWARD

WINCELVOSS, Individually,         JOYCE L. MORROW, Individually, KIRSTEN WHITE, Individually,

MARK FOLEY, Individually, MICHAEL ANTHONY JOSEPH, Individually, RICHARD P. FACCHINE,

Individually, ROSS WILLIAM WALTER MELTZER, Individually, STEPHEN D. HAYMES, Individually,

WILLIAM V. MAURO, Individually, WOLF VON FALKENBERG, Individually, ALEXANDER AND

WINIFRED ARANYOS, Individually, and ROGER ISPHORDING, Individually, seeking relief in the nature

of a declaratory judgment regarding the nature, extent, validity and priority of secured claims, if any, that the

defendants may have against the Debtors and the estate pursuant to §506 of the United States Bankruptcy

Code and Bankruptcy Rule 3007, and to the extent any of the “Lenders”, as defined below, were in receipt of

Section 547 preferential payments from the Debtor at a time when any such Lender was under or unsecured,

that pursuant to Section 502, that such claims be determined to be unenforceable pending further proceedings

consistent with the requirements of Section 502, and states:

                                        NATURE OF THE ACTION

        This is an adversary proceeding brought pursuant to Federal Rule of Bankruptcy Procedure 7001 and

Sections 502 and 506, of Title 11 of the United States Code, 11 U.S.C. §§ 101 - 1532 (the “Bankruptcy Code”)

and other applicable law: (a) seeking a determination that certain assets of the bankruptcy estate, consisting

of the motor vehicles that were and are the subject of floor plan arrangements with Defendants, Anchor

Commercial Bank, Flagler Bank, Legacy Bank of Florida, NextGear Capital, Inc., North Florida Mango

Credit, Alexander Aranyos, Roger Isphording and Alan and Susan Gilison (the “Lenders”) are not
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encumbered by liens or security interests granted to said Defendants, Pre-Petition; (b) seeking disallowance

and/or recharacterization as unsecured of certain claims filed or to be filed by the Pre-Petition Lenders in

these Chapter 11 proceedings pursuant to §502 of the Bankruptcy Code to the extent that such claims allege

or will allege a security interest in or lien on any of the subject motor vehicles and/or any other assets of the

Debtors where the Debtor can establish § 547 preference payments to any such Lenders that were under

secured or unsecured within the 90 days prior to the Petition Date; and (c) a determination of the nature,

extent, validity and priority of any alleged secured claims concerning Defendants, Albert Gleaves Van Metre,

Jr. and Deadria Van Metre, Jr., Bruce Haley, Daniel Jack Keegan, J&G Capital, LLC, Howard Wincelvoss,

Joyce L. Morrow, Kirsten White, Mark Foley, Michael Anthony Joseph, Richard P. Facchine, Ross W.W.

Meltzer, Stephen D. Haymes, William V. Mauro and Wolf Von Falkenberg (the “Consignors”), each of whom

placed motor vehicles for consignment with the Debtor, Pre-Petition and whose motor vehicles may or may

not be subject to the lien or claim of a security interest of any or all of the Lenders and/or Consignors and (d)

for such other and further relief on behalf of the Debtors and the bankruptcy estate as may be just and proper

under the extraordinary circumstances of these Chapter 11 proceedings.

                                           JURISDICTION AND VENUE

        1.        This Court has jurisdiction over this adversary proceeding purs uant to 28 U.S.C. §

1334(b) and 28 U.S.C. § 157(a).

        2.        This adversary proceeding is a “core” proceeding as defined in 28 U.S.C. §§

157(b)(2)(A) and (K).

        3.        In the event that any part of this adversary proceeding is found to be “non-core,” Plaintiffs

consent to entry of final orders and judgments by this Court, pursuant to Rule 7008 of the Federal Rules of

Bankruptcy Procedure.

        4.        Venue in this District is properly laid pursuant to 28 U.S.C. § 1409.




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                                               THE PARTIES

           5.    Defendant, Anchor Commercial Bank, is a corporation, with a principle place of business

located at 11025 RCA Center Drive, Suite 100, Palm Beach Gardens, FL 33410.

           6.    Defendant, Flagler Bank, is a corporation, with a principle place of business located at 555

Northlake Boulevard, Suite 200, North Palm Beach, FL 33408.

           7.    Defendant, J&G Capital Group, LLC, is a corporation, with a principle place of business

located at 2660 S. Ocean Boulevard, #505, Palm Beach, FL 33480.

           8.    Defendant, Legacy Bank of Florida, is a corporation, with a principle place of business

located at 2300 Glades Road, Suite 140 West, Boca Raton, FL 33431.

           9.    Defendant, LQD Business Finance, LLC, is a corporation, with a principle place of business

located at 329 W. 18th Street, Suite 601, Chicago, IL 60616.

           10.   Defendant, NextGear Capital, Inc., is a corporation, with a principle place of business located

at 1320 City Center Drive, Suite 100, Carmel, IN 46032.

           11.   Defendants, Albert and Susan Gilison, who are individuals, reside in Palm Beach County,

Florida.

           12.   Defendant, Albert Gleaves Van Metre, Jr. and Deadria Van Metre, Jr., who are individuals,

resident of the State of Virginia.

           13.   Defendant, Bruce Haley, who is an individual, is a resident of the State of New York.

           14.   Defendant, Daniel Jack Keegan, who is an individual, is a resident of the State of Florida.

           15.   Defendant, Howard Wincelvoss, who is an individual, is a resident of the State of

Connecticut.

           16.   Defendant, Joyce L. Morrow, who is an individual, is a resident of the State of Pennsylvania.

           17.   Defendant, Kirsten White, who is an individual, is a resident of the State of Florida.

           18.   Defendant, Mark Adam Foley, who is an individual, is a resident of the State of Florida.




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           19.   Defendant, Michael Anthony Joseph, who is an individual, is a resident of the State of

Florida.

           20.   Defendant, Richard P. Facchine, who is an individual, is a resident of the State of Florida.

           21.   Defendant Ross William Walter Meltzer, who is an individual, is a resident of the State of

Florida.

           22.   Defendant, Stephen D. Haymes, who is an individual, is a resident of the State of New York.

           23.   Defendant, William V. Mauro, who is an individual, is a resident of the State of Florida.

           24.   Defendant, Wolf Von Falkenberg, who is an individual, is a resident of the State of Florida.

           25.   Defendant, Alexander and Winifred Aranyos , who is an individual, is a resident of the State

of Florida.

           26.   Defendant, Roger Isphording, who is an individual, is a resident of the State of Florida.

                                            RELEVANT FACTS

           27.   On July 27, 2017, (the “Petition Date”), the Debtors commenced these jointly-administered

Chapter 11 cases by filing voluntary petitions for relief under Title 11 of the Bankruptcy Code. No trustee or

examiner has been appointed.

           28.   The Debtors continue to operate its business and manage its affairs as debtors- in-possession

pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

           29.   The Debtor, Chariots of Palm Beach, Inc., (“Chariots”) is in the business of selling select pre-

owned, high-end motor vehicles and owns the real property upon which the dealership maintains its business;

The Debtor, H&S, Inc., is an affiliate of Chariots and engaged in the leasing of high-end motor vehicles to

private individuals.

           30.   Upon information and belief and based upon the forensic research conducted to date, it would

appear that the prior President and sole shareholder, Hugh Bate, caused multiple pledges of identical collateral

to the Lenders and in certain instances caused motor vehicles owned by Consignors to be pledged to Lenders

by inducing the Consignors to tender their original titles to Mr. Bate. In other instances, Mr. Bate apparently


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obtained duplicate titles and pledged collateral to Lenders while other Lenders and/or Consignors were

already in possession of the original title certificates for certain motor vehicles. As of the filing of this

adversary, there are multiple conflicting claims to collateral and the cash collateral therefrom. The purpose

of this adversary is to establish the nature, extent, validity and priority of these competing claims and to

establish, as to each Lender, the applicability of Section 502 to the extent any Lender received preferential

payments pursuant to Section 547 while any such lender was under secured or unsecured.

                                                        COUNT ONE

          (Nature, Extent, Validity and Priority of Alleged Liens and Security Interests)

          31.       Plaintiff repeats and realleges the foregoing allegations, paragraphs 1-30, as if set forth

f u l l y herein.

          32.       Attached hereto as Exhibit “1” are the Security Agreements which have been provided by

each of the Lenders in this case. Not all Lenders have Security Agreements but may claim a security interest

under applicable Florida law and the Bankruptcy Code.

          33.       Attached hereto as Exhibit “2” are copies of all known consignment agreements concerning

the Consignors joined herein as defendants.

          34.       Plaintiff seeks a determination as to the nature, extent, validity and priority 1 of each

Defendants’ alleged security interest(s) or lien(s) in any motor vehicles and/or any other assets of the Debtors

and the cash collateral that would arguably emanate therefrom on a case-by-case basis. In this regard and due to

the apparent multiple pledges as to various collateral in this matter, Plaintiff requests each Defendant to provide

evidence to identify the asset which they allege to be subject to a security interest.

          WHEREFORE, Plaintiff respectfully requests this Honorable Court determine the nature, extent,

validity and priority of each of the Defendants’ alleged security interest(s) or lien(s) in any motor vehicles

and/or any other assets of the Debtors and the cash collateral that would arguably emanate therefrom on a case-


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  “Priority” as that term is used in these proceedings, means priority under the Uniform Commercial Code as adopted
in the State of Florida or any other applicable state UCC law, not the priorities established pursuant to Section 507 of
the Bankruptcy Code.
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by-case basis pursuant to Bankruptcy Code § 506 and for an award of costs of suit and reasonable

attorney’s fees and for the recovery of the reasonable, necessary costs and expenses of preserving or

disposing of such property to the extent of any benefit to the holder of any such secured claim found

to exist and for such other and further relief as this Court deems appropriate.


                                              COUNT TWO
                (Application of 11 U.S.C. § 502 to 11 U.S.C. § 547 and Disallowance and/or
                                      Re-Characterization of Claims)

          35.     Plaintiff repeats and realleges the foregoing allegations, paragraphs 1-34 as if set forth fully

herein.

          36.     To the extent that any of the Lenders joined as Defendants in this adversary have received

preferential transfers pursuant to Bankruptcy Code § 547, as shown by the attached Exhibit “3”, and to the

extent any such Lender is shown to have been under secured or unsecured at the time of their receipt of any

preferential payments, then Plaintiffs seek a determination that any such Lender may not have a claim unless

and until they comply with the requirements of Bankruptcy Code § 502(d) and other applicable Bankruptcy

Code provisions and Rules of Bankruptcy Procedure.

          37.     To the extent any such Defendant filed or files a proof of claim in these Chapter 11

proceedings asserting a lien on or security interest in any of the assets of the bankruptcy estates, that each

such claim be disallowed and/or re-characterized as unsecured.

          WHEREFORE, Plaintiff respectfully requests a determination by the Court that pursuant to 11

U.S.C. § 502, where any Lender is found to have received preferential transfers pursuant to 11 U.S.C. §

547 while any such Lender was under secured or unsecured, that any such claim(s) of Defendants filed or to

be filed in the main case alleging a security interest or lien(s) on any motor vehicles and/or any other assets

of the Debtors, that same be disallowed and/or re-characterized as unsecured; awarding costs of suit and

reasonable attorneys’ fees; and awarding such other and further relief as the Court deems equitable and proper.




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                                        RESERVATION OF RIGHTS

        38.       This Complaint is being expeditiously filed in order to determine the true first lien holder

concerning Debtors’ assets and is not intended, and shall not be construed as a waiver of the Debtors’ rights

to (i) assert additional causes of action related or unrelated to the causes of action set forth herein, including,

but not limited to, preferences, fraudulent transfers or conveyances, other avoidance power claims or any

other claims (including further objections to any proofs of claim filed by Defendant in the Chapter 11 Case),

counterclaims or causes of action, objections, contests or defenses, or (ii) amend this Complaint to assert

different or additional causes of action relating to the causes of action set forth herein to the extent such

amendment is appropriate and/or for joinder of any additional defendants that have not yet been identified as

stakeholders in these proceedings.

                                                            I HEREBY CERTIFY that I am admitted to the
                                                            Bar of the United States District Court for the
                                                            Southern District of Florida and I am in compliance
                                                            with the additional qualifications to practice in this
                                                            Court set forth in Local Rule 2090-1(A).

Dated: August 23, 2017                                      Respectfully submitted:

                                                            McLAUGHLIN & STERN, LLP
                                                            CityPlace Office Tower – Suite 1700
                                                            525 Okeechobee Boulevard
                                                            West Palm Beach, FL 33401
                                                            Tel: (561) 659-4020
                                                            Proposed Counsel for Debtor-In-Possession
                                                            Chariots of Palm Beach, Inc. and H&S, Inc.

                                                            By:__/s/ Steven S. Newburgh
                                                            STEVEN S. NEWBURGH, ESQ.
                                                            Florida Bar No. 348619




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